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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION


Ashley Watson                                    Case No.

        Plaintiff,

v.                                                   COMPLAINT FOR DAMAGES
                                                 UNDER THE FAIR DEBT COLLECTION
Medicredit, Inc.                                  PRACTICES ACT, THE TELEPHONE
                                                  CONSUMER PROTECTION ACT, THE
        Defendant.                                FLORIDA CONSUMER COLLECTION
                                                    PRACTICES ACT AND OTHER
                                                        EQUITABLE RELIEF


                                                   JURY DEMAND ENDORSED HEREIN

                                              PARTIES

1. Plaintiff, Ashley Watson, (“Ashley”), is a natural person who resided in Lutz, Florida, at all

     times relevant to this action.

2. Defendant, Medicredit, Inc., (“Medicredit”), is a Missouri Corporation that maintained its

     principal place of business in Columbia, Missouri, at all times relevant to this action.

                                  JURISDICTION AND VENUE

3.   Pursuant to 28 U.S.C. §1331, this Court has federal question jurisdiction over this matter as it

     arises under the Fair Debt Collection Practices Act (“FDCPA”), 15 U.S.C. §1692 et seq. and

     the Telephone Consumer Protection Act, 47 U.S.C. § 227.

4.   Pursuant to 28 U.S.C. §1367(a), this Court has supplemental jurisdiction over Plaintiff’s

     claims under the Florida Consumer Collection Practices Act, Fla. Stat. (“FCCPA”), § 559.55,

     et seq., because those claims share a common nucleus of operative facts with Plaintiff’s

     claims under the FDCPA. See LeBlanc v. Unifund CCR Partners, 601 F.3d 1185 (11th Cir.




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     2010) (“[FCCPA’s] remedies are ‘cumulative to other sanctions and enforcement provisions’

     for any violation by an out-of-state consumer debt collector.”).

5.   Pursuant to 28 U.S.C. §1391(b), venue is proper because a substantial part of the events

     giving rise to this claim occurred in this judicial district.

                                        STATEMENT OF FACTS

6. Medicredit uses a predictive dialer system.

7. Before Medicredit began contacting Ashley, it and Ashley had no prior business relationship

     and Ashley had never provided express consent to Medicredit to be contacted on her cellular

     telephone.

8. Medicredit regularly uses instrumentalities of interstate commerce and the mails to collect

     consumer debts owed or due or asserted to be owed or due another.

9. The principal source of Medicredit’s revenue is debt collection.

10. Medicredit is a "debt collector” as defined by 15 U.S.C. §1692a(6).

11. As described, infra, Medicredit contacted Ashley to collect a debt that was incurred primarily

     for personal, family, or household purposes.

12. This alleged obligation is a “debt” as defined by 15 U.S.C. §1692a(5).

13. Ashley is a “consumer” as defined by 15 U.S.C. §1692a(3).

14. 	  On several occasions, the dates of which will be discovered through discovery, Medicredit

     willingly and knowingly used an automatic telephone dialing system to call Ashley on her

     cellular phone multiple times in violation of the TCPA.

15. Around November 2013, Medicredit began contacting Ashley on Ashley’s cellular phone in

     an attempt to collect a debt for another individual.




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16. During one communication, around November 2013, Ashley notified Medicredit that Ashley

   was not the individual Medicredit was looking for.

17. In addition, Ashley communicated her desire that Medicredit cease calling her.

18. Medicredit told Ashley that Medicredit would remove Ashley’s phone number from

   Medicredit’s call list, which was a misrepresentation as evidenced by the fact that Medicredit

   continued to call Ashley on Ashley’s cellular phone in connection with the collection of the

   debt including as recent as July 2014.

19. On more than one occasion, Ashley communicated her desire that Medicredit cease calling

   her.

20. Medicredit caused Ashley emotional distress.

21. Medicredit attempted to collect a debt from Ashley.

                                            COUNT ONE

                       Violation of the Fair Debt Collection Practices Act

22. Plaintiff re-alleges and incorporates by reference Paragraphs 15 through 21 above as if fully

   set forth herein.

23. Defendant violated 15 U.S.C. §1692c(a)(1) by calling Plaintiff at a time or place known to be

   inconvenient for Plaintiff.

                                         COUNT TWO

                       Violation of the Fair Debt Collection Practices Act

24. Plaintiff re-alleges and incorporates by reference Paragraphs 15 through 21 above as if fully

   set forth herein.

25. Defendant violated 15 U.S.C. §1692d by engaging in conduct the natural consequence of

   which is to harass, oppress, or abuse Plaintiff in connection with the collection of the debt.




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                                        COUNT THREE

                        Violation of the Fair Debt Collection Practices Act

26. Plaintiff re-alleges and incorporates by reference Paragraphs 15 through 21 above as if fully

   set forth herein.

27. Defendant violated 15 U.S.C. §1692e by using false, deceptive, or misleading representations

   or means in connection with the collection of the debt.

                                         COUNT FOUR

                        Violation of the Fair Debt Collection Practices Act

28. Plaintiff re-alleges and incorporates by reference Paragraphs 15 through 21 above as if fully

   set forth herein.

29. Defendant violated 15 U.S.C. §1692f by using unfair or unconscionable means to collect the

   debt.

                                           COUNT FIVE

                       Violations of the Telephone Consumer Protection Act

30. Plaintiff re-alleges and incorporates by reference Paragraphs 15 through 21 above as if fully

   set forth herein.

31. Defendant willingly and knowingly violated 47 U.S.C. § 227(b)(1)(A) on multiple and

   separate occasions by each time calling Plaintiff’s cellular telephone using both an automatic

   telephone dialing system without Plaintiff’s prior express consent.

                                          COUNT SIX

                 Violations of the Florida Consumer Collection Practices Act

32. Plaintiff re-alleges and incorporates by reference Paragraphs 15 through 21 above as if fully

   set forth herein.




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33. Defendant is a “debt collector” as that term is defined in the FCCPA, Fla. Stat. § 559.55(7).

34. Plaintiff is a “consumer” as defined by the FCCPA and is a person whom the act was

    intended to protect, FCCPA, Fla. Stat. § 559.55(2).

35. Defendant attempted to collect a “debt” within the meaning of FCCPA, Fla. Stat.

    § 559.55(1).

36. Defendant willingly and knowingly violated Fla. Stat. § 559.72(7) by communicating with

    Plaintiff with such frequency as can reasonably be expected to harass Plaintiff or engaging in

    other conduct which can reasonably be expected to abuse or harass Plaintiff.

                                          JURY DEMAND

37. Plaintiff demands a trial by jury.

                                      PRAYER FOR RELIEF

38. Plaintiff prays for the following relief:

            a. Judgment against Defendant for actual damages, statutory damages, and costs and

                reasonable attorney’s fees pursuant to 15 U.S.C. §1692k.

            b. An order enjoining Defendant from placing further telephone calls to Plaintiff’s

                cellular telephone number pursuant to 47 U.S.C. § 227(b)(3).

            c. Judgment against Defendant for statutory damages pursuant to 47 U.S.C. §

                227(b)(3) for each and every call Defendant made in violation of the TCPA.

            d. Judgment against Defendant for actual damages, statutory damages, costs and

                reasonable attorney’s fees, plus punitive damages pursuant to Fla. Stat. § 559.77.

            e. For such other legal and/or equitable relief as the Court deems appropriate.




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                                  RESPECTFULLY SUBMITTED,



                                  By:    /s/ H. Karen Gatto
                                  One of Plaintiff’s Attorneys

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